      Case 3:23-cr-00061-DJH Document 38 Filed 11/14/23 Page 1 of 1 PageID #: 88



                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                    AT LOUISVILLE

UNITED STATES OF AMERICA                                                           PLAINTIFF


VS.                                         CRIMINAL ACTION NUMBER: 3:23CR-61-DJH


MARKUS STILLWELL                                                               DEFENDANT

                                            ORDER

        This matter came before the undersigned on November 8, 2023, via video conference for

arraignment on a Superseding Indictment.     Assistant United States Attorney Alicia Gomez

appeared on behalf of the United States. The defendant appeared in custody from Oldham County

Detention Center.     John Casey McCall, retained counsel, appeared on behalf of the defendant. The

proceeding was digitally recorded.

        The defendant, through counsel, consented to proceed with hearing via video conference.

The defendant, through counsel, acknowledged his identity and receipt of the Superseding

Indictment. The defendant, through counsel, waived formality of arraignment and entered a plea

of NOT GUILTY to the charges contained therein.

        IT IS HEREBY ORDERED this matter remains scheduled for trial on January 16, 2024,

at 9:30 a.m. before the Honorable David J. Hale, United States District Judge. The defendant shall

remain in custody of United States Marshals Service pending further order of the Court.



        November 14, 2023




:03
